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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               January 20, 2017
                   IN THE UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                                             §
                                             §
VS.                                          §   CRIMINAL NO. H-15-266-2
                                             §
                                             §
                                             §
JERRIEUS WILLIAMS                            §


                                      ORDER

       The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 274). The motion for continuance is GRANTED. The sentencing hearing

is reset to February 14, 2017 at 9:00 a.m.

             SIGNED on January 20, 2017, at Houston, Texas.

                                          ______________________________________
                                                     Lee H. Rosenthal
                                               Chief United States District Judge
